B1 (ornciai Form 1) (4/10)

District of Kansas

United States Bankruptcy Court

 

 

Name of Debtor (if individual, enter Last, First, Middle):
Brown, Zenobia Rene

Name of Joint Debtor (Spouse) (Last, First, Middle):

 

All Other Names used by the Debtor in the last 8 years
(include married, maiden, and trade names):
Zenobia Renee Smith - brown

Zenobia Renee Smith

All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names): \

 

Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (I'I'IN) No./Complete
EIN (if more than one, state all): 9873

Last four digits of Soc. Sec. or Individual-'l`axpayer I.D. (I'HN) No./Complete
EIN (if more than one, state all):

 

Street Address of Debtor (No. & Street, City, State & Zip Code):

2939 N. 76 St
l ZIPCODE 66109

Strcet Address of Joint Debtor (No. & Street, City, State & Zip Code):

l ZIPCODE

 

Kansas City, KS
County of Residenee or of the Principal Place of Business:
Wyandotte

County of Residence or of the Principal Place of Business:

 

Mailing Address of Debtor (if different from street address)

 

 

| ziPcoDE

Mailing Address of Joint Debtor (if different from street address):

l Z[PCODE

 

Location of Principal Assets of Business Debtor ( if different from street address above):

| ZIPCODE

 

 

 

 

 

 

 

>~
C
§ Type of Debtor Naturc of Business Chapter of Bankruptcy Code Undcr Which
§ (Form of Organization) (Check one box.) the Petition is Filed (Check one box.)
53 (Check one b°X') |:] Health Care Business M Chapter 7 |:I Chapter 15 Petition for
§ Mlndividual (includes Joint Debtors) [:] Single Asset Real Estate as defined in ll I:l Chapter 9 Recognition of a Foreign
§ See Exhibl't D on page 2 of this form. U.S.C. § lOl(SlB) l:l Chapter ll Main Proceeding
;r'~ [:] Corporation (includes LLC and LLP) [:| Railroad l:l Chapter 12 m Chapter 15 Petition for
§ [_'_] Partnership [:] Stockbroker |:] Chapter 13 Recognition of a Foreign
35 |:] Other (lf debtor is not one of the above entities, |:] Commodity Broker Nonmain Proceeding
3 check this box and state type of entity below.) |:] Clearing Bank Natm.c of neth
§ 13 the' (check one bow
';,7 |I Debts are primarily consumer l:l Debts are primarily
§ Tax-Exempt Entity debts, defined in 11 U.S.C. business debts.
§ (Check box, if applicable.) § 101(8) as “incun'ed by an
`,§ I:] Debtor is a tax-exempt organization under individual primarily for a
‘“_' Title 26 of the United States Code (tiie personal, family, or house-
§ Intemal Revenue Code). hold purpose.”
§ Filing Fee (Check one box) Chapter ll Debtors
§ . . Check one box:
[:| Full Fllmg Fee attached

m Debtor is a small business debtor as defined in ll U.S.C. § 101(51D).

[:] Debtor is not a small business debtor as defined in ll U.S.C. § 101(51D).

Check if:

[] Debtor’s aggregate noncontingent liquidated debts owed to non-insiders or affiliates are less
than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).

Check all applicable boxes:

[:| A plan is being filed with this petition

[:| Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b)_

[___] Filing Fee to be paid in installments (Applieable to individuals
only). Must attach signed application for the couit’s
consideration certifying that the debtor is unable to pay fee
except in installments Rule 1006(b). See Official Form 3A.

MFiling Fee waiver requested (Applicable to chapter 7 individuals
only). Must attach signed application for the eourt’s
consideration See Ofiicial Form 3B.

 

 

 

 

 

 

 

 

Statistical/Administrative In formation THIS SPACE IS FOR
Debtor estimates that funds will be available for distribution to unsecured creditors. COURT USE ONLY
Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
distribution to unsecured creditors

Estr`mated Number of Creditors

l:| l:l [] l:l l] l:l l:l l:l |:l
1-49 50-99 100-199 200-999 1,000- 5,001- 10,001~ 25,001- 50,001- Over

5,000 10,000 25,000 50,000 100,000 100,000

Estirnated Assets
l:| |:l \:l l:\ l:| [:l [] l:l l:|
$0 to $50,001 to $100,001 to $5()0,001 to $1,000,001 to $10,000,001 $50,000,001 to $lO0,000,00l $500,000,001 More than
$50,000 $100,000 $500,000 $1 million $10 million to $50 million $100 million to $500 million to $l billion $l billion
Esn`mat§§ Liabilities
|:l ' ~ |:| |:| |:l |:| l:| l:l l:l
$0 to $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
$50,000 $100,000 $500,000 $l million $10 million to $50 million $100 million to $500 million to $l billion $l billion

 

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Bl (Official Form l) (4/10) Page_Z

 

 

 

 

 

 

 

 

 

Vol“ntary Petition Name of Debtor(_s):

(T his page must be completed and fled in every case) Br°w"' Ze"°b'a Re“e

Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)

Location Case Number: Date Filed:

Where Filed:None

Location Case Number: Date Filed:

Where Filed:

Pending Bankruptcy Case Filed by any Spouse, Partner or Aff'iliate of this Debtor (If more than one, attach additional sheet)

Name of Debtor: Case Number: Date Filed:

None

District: Relationship: Judge:

Exhibit A Exhibit B

(To be completed if debtor is required to file periodic reports (e.g, forms (To be completed if debtor is an individual
lOK and lOQ) with the Securities and Exchange Commission pursuant to whose debts are primarily consumer debts.)

Section 13 or 15(d) of the Securities Exchange Act of 1934 and is

I, the attome for the etitioner named in th f ' tit' , d l
requesting relief under chapter l 1.) y p c oregomg pc lon ec are

that l have informed the petitioner that [he or she] may proceed under
chapter 7, 11, 12, or 13 of title ll, United States Code, and have

 

 

 

m Exhibit A is attached and made a Pa" of this Petiti°n' explained the relief available under each such chapter. l further certify
that I delivered to the debtor the notice required by § 342(b) of the
Bankruptcy Code.
X
Siguatm'c of Attomey for Debtor(s) Date
Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
or safety?

§ Yes, and Exhibit C is attached and made a part of this petition.
No

 

Exhibit D
(To be completed by every individual debtor. lf a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

Ef Exhibit D completed and signed by the debtor is attached and made a part of this petition.
lf this is a joint petition:
|:| Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.

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Information Regarding the Debtor - Venue
(Check any applicable box.)
Ef Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other Disnict.

|:] There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

|j Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
in this District, or the interests of the parties will be served in regard to the relief sought in this District.

 

Certification by a Debtor Who Resides as a Tenant of Residential Property
(Check all applicable boxes.)
|___| Landlord has a judgment against the debtor for possession of debtor’s residence (If box checked, complete the following.)

 

(Name of landlord or lessor that obtained judgment)

 

 

 

(Address of landlord or lessor)

[:| Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
the entire monetary default that gave rise to the judgment for possession, alter the judgment for possession was entered, and

jj Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
filing of the petition.

|:] Debtor certifies that he/she has served the Landlord with this certification (11 U.S.C. § 362(1)).

 

 

 

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Br (omcial Form 1) (4/10)

Page 3

 

Voluntary Petition
(This page must be completed and filed in every case)

Name of Debtor(s):
Brown, Zenobia Rene

 

Signatures

 

Signature(s) of Debtor(s) (Individual/Joint)

l declare under penalty of perjury that the information provided in this
petition is true and correct.

[lf petitioner is an individual whose debts are primarily consumer debts
and has chosen to file under Chapter 7] I am aware that I may proceed
under chapter 7, ll, 12 or 13 of` title ll, United State Code, understand
the relief available under each such chapter, and choose to proceed under
chapter 7 .

[If no attorney represents me and no bankruptcy petition preparer signs
the petition] I have obtained and read the notice required by l 1 U.S.C. §
342(b).

l request relief in accordance with the chapter of title l 1, United States
Code, specified in this petition.

XS“;.,;.Z¥§?@
x

Signature of Joint Debtor
(91 3) 963-2540
Telephone Number (If not represented by attorney)

October 14, 2011

Date

 

Signature of a Foreign Reprosentative

l declare under penalty of perjury that the information provided in this

petition is true and correct, that I am the foreign representative of a debtor

in a foreign proceeding and that l am authorized to file this petition.

(Check only one box.)

[_] I request relief in accordance with chapter 15 of title ll, United
States Code. Certified copies of the documents required by 1 l U.S.C.
§ 1515 are attached.

|:] Pursuant to l 1 U.S.C. § 1511, I request relief in accordance with the
chapter of title ll specified in this petition. A certified copy of the
order granting recognition of the foreign main procwding is attached.

X

Signature of Foreign Representafive

 

 

Printed Name of Foreign Representative

 

Date

 

Signature of Attorney*

 

Signature of Attomey for Debtor(s)

 

Printed Name of Attorney for Debtor(s)

 

Firm Name

 

Address

 

 

Telephone Number

 

Date
*ln a case in which § 707(b)(4)(D) applies this sigiature also constitutes a
certification that the attorney has no knowledge afier an inquiry that the
information in the schedules is incorrect

 

Signature of Debtor (Corporatioanartnership)

I declare under penalty of perjury that the information provided in this
petition is true and correct, and that l have been authorized to file this
petition on behalf of the debtor.

The debtor requests relief in accordance with the chapter of title ll,
United States Code, specified in this petition.

X

Signature ofAuthorized individual

 

 

Printed Name of Aulhorized Individual

 

Title of Authorized lndividual

 

Date

 

 

Signature of Non-Attorney Petition Preparer

I declare under penalty of perjury that: 1) I am a bankruptcy petition
preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
compensation and have provided the debtor with a copy of this document
and the notices and information required under ll U.S.C. §§ llO(b),
110(h) and 342(b); 3) if rules or guidelines have been promulgated
pursuant to ll U.S.C. § 110(h) setting a maximum fee for services
chargeable by bankruptcy petition preparers, I have given the debtor
notice of the maximum amount before preparing any document for filing
for a debtor or accepting any fee from the debtor, as required in that
section. Ofiicial Form 19 is attached.

mysz Neal, Manager

Printed Name and title, if any, of Bankruptcy Petition Preparer

XXX-XX-XXXX

Social Security Number (lf the bankruptcy petition preparer is not an individual, state the
Social Security number of the ofiicer, principal, responsible person or partner of the
bankruptcy petition prepmer.) (Required by ll U.S.C. § llO.)

4298 E. 300 S.

Address

LAOT|`O, lN 46763

 

      

w ..,.‘,…,A' k fr ', di l , , m
Signature of B 1 s ptcy Petition Preparer or ofiicer, principal, responsible person, or
partner whose social security mnnber is provided above.

October 14, 2011

Daw

Names and Social Security numbers of all other individuals who
prepared or assisted in preparing this document unless the bankruptcy
petition preparer is not an individual:

If more than one person prepared this document, attach additional
sheets conforming to the appropriate official form for each person.

A bankruptcy petition preparer ’sjizilure to comply with the provisions
of title 1 1 and the F ederal Rules of Banltruptcy Procedure may result
in fines or imprisonment or both 11 U.S.C. § 110,' 18 U.S.C. § 156.

 

 

Case 12-40119

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Bln (Orncial Form 1, Exhibit D) (12/09)
United States Bankruptcy Court
District of Kansas

IN RE: Case No.

Brown, Zenobia Rene Chapter 7
Debtor(s)

EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
CREDIT COUNSELING REQUIREMENT

Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. lf that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
to stop creditors’ collection activities.

 

 

Every individual debtor must file this Exhibit D. If a joint petition is jiled, each spouse must complete and file a separate Exhibit D. Check
one of the five statements below and attach any documents as directed

[:] 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
certificate and a copy of any debt repayment plan developed through the agency.

MZ. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
a copy of a certificate ji‘om the agency describing the services provided to you anda copy of any debt repayment plan developed through
the agency no later than 14 days after your bankruptcy case is jiled.

jj 3. I certify that l requested credit counseling services from an approved agency but was unable to obtain the services during the seven
days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
requirement so l can file my bankruptcy case now. [Summarize exigent circumstances here.]

If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
case. Any extension of the 30~day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
counseling briefing.

E 4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
motion for determination by the court ]
[:] Incapacity. (Defined in 11 U. S. C § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
of realizing and making rational decisions with respect to financial responsibilities );
[:] Disability. (Defined rn 11 U. S. C § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
participate in a credit counseling briefing m person, by telephone, or through the Internet. );

|:l Active military duty in a military combat zone.

[:] 5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 1 1 U.S.C. § 109(h)
does not apply in this district

I certify under penalty of perjury that the information provided above is true and correct

Signature of Debtor: mm mith

Date: October 14 2011

 

Case 12-40119 Doc# 1 Filed 02/08/12 Page 4 of 46

 

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_ Bl9 (Oflicial Form 19) (12/07)

United States Bankruptcy Court
District of Kansas

IN RE: Case No.

Brown, Zenobia Rene Chapter 7
Debtor(s)

NOTICE TO DEBTOR BY NON-ATTORNEY BANKRUPTCY PETITION PREPARER

 

 

l am a bankruptcy petition preparer. I am not an attorney and may not practice law or give legal advice. Before preparing any document
for filing as defined in § 110(a)(2) of the Bankruptcy Code or accepting any fees, I am required by law to provide you with this notice
concerning bankruptcy petition preparers. Under the law, § 110 of the Bankruptcy Code (ll U.S.C. § 110), l am forbidden to offer you
any legal advice, including advice about any of the following:

~ whether to file a petition under the Bankruptcy Code (11 U.S.C. § 101 et seq.);

~ whether commencing a case under chapter 7, 11, 12, or 13 is appropriate;

~ whether your debts will be eliminated or discharged in a case under the Bankruptcy Code;

- whether you will be able to retain your home, car, or other property after commencing a case under the Bankruptcy Code;
- the tax consequences of a case brought under the Bankruptcy Code;

~ the dischargeability of` tax claims;

~ whether you may or should promise to repay debts to a creditor or enter into a reaffirmation agreement with a creditor to reaffirm a
debt;

~ how to characterize the nature of your interests in property or your debts; or
~ bankruptcy procedures and rights.

in addition, under 11 U.S.C. § llO(h), the Supreme Court or the Judicial Conference of the United States may promulgate rules or
guidelines setting a maximum allowable fee chargeable by a bankruptcy petition preparer. As required by law, I have notified you of this
maximum allowable fee, if any, before preparing any document for filing or accepting any fee from you.

B' \®__x 10/14/2011 10/14/2011

Date Joint Debtor (if any) Date

  

 

DECLARATION AND SIGNATURE OF NON-ATT()RNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in l l U.S.C. § l 10; (2) l prepared the accompanying document(s)
listed below for compensation and have provided the debtor with a copy ofthe document(s) and the attached notice as required by l 1 U.S.C. §§ l lO(b),
llO(h), and 342(b); and (3) if rules or guidelines have been promulgated pursuant to ll U.S.C. § 110(h) setting a maximum fee for services chargeable
by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
accepting any fee from the debtor, as required by that section.

 

 

C l Ne l r XXX-XX-XXXX
Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer Social Security No. (Required by ll U.S.C. § l 10.)

ff the bankruptcy petition preparer is not an individual state the name, title (ifany), address, and social security number of the ojj’icer, principall
responsible person, or partner who signs the document

 

 

 

 

4298 E. 300 S.

LAOTTM 46763

Address

C\¢A.<:.Hj k 319 A/€ october 14. 2011
Signature 0¢3anlcruptcy Petition Preparer Date

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
is not an individual:

If more than one person prepared this document attach additional signed sheets conforming to the appropriate O]j‘icial Form for each person,

A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both. ll U.S.C. § 110; 18 U.S.C. § 156.

Case 12-40119 Doc# 1 Filed 02/08/12 Page 5 of 46

 

11 U.S.C. ' 527(a)(2) DlSCLOSURE

Under 11 U.S.C. ' 527(a)(2), a debt relief agency is required to provide the following written notice to assisted
persons filing bankruptcy. You must read and understand the following disclosure and sign where indicated

You, as an assisted person filing bankruptcy, shall know and understand that:

A.

all information that you are required to provide with a petition and thereafter during a case under this
title is required to be complete, accurate, and truthful;

all assets and all liabilities are required to be completely and accurately disclosed in the documents filed
to commence the case, and the replacement value of each asset as defined in section 506 must be stated
in those documents where requested after reasonable inquiry to establish such value;

current monthly income, the amounts specified in section 707(b)(2), and, in a case under chapter 13 of
this title, disposable income (determined in accordance with section 707(b)(2)), are required to be stated
after reasonable inquiry; and

information that an assisted person provides during their case may be audited pursuant to this title, and
that failure to provide such information may result in dismissal of the case under this title or other
sanction, including criminal sanction.

The undersigned acknowledges receipt of this disclosure required by ll U.S.C. ' 527(a)(2). I/We have read and
understand its contents and the implications associated with failing to honestly provide information about our
ineome, expenses, property, and other financial circumstances

Date: October 14, 2011

>@Maa?w/&MD

Debtor

 

Joint Debtor (if applicable)

Case 12-40119 Doc# 1 Filed 02/08/12 Page 6 of 46

 

 

 

11 U.S.C. ' 527(B) DlSCLOSURE

lMPORTANT lNFORMAT|ON ABOUT BANKRUPTCY ASS|STANCE SERV|CES
FROM AN ATTORNEY OR BANKRUPTCY PETITION PREPARER.

If you decide to seek bankruptcy relief, you can represent yourself, you can hire an attorney to represent you, or
you can get help in some localities from a bankruptcy petition preparer who is not an attorney. THE LAW
REQUIRES AN ATTORNEY OR BANKRUPTCY PETITION PREPARER TO GIVE YOU A WRITTEN
CONTRACT SPECIFYING WHAT THE ATTORNEY OR BANKRUPTCY PETITION PREPARER WILL
DO FOR YOU AND HOW MUCH IT WILL C()ST. Ask to see the contract before you hire anyone.

The following information helps you understand what must be done in a routine bankruptcy case to help you
evaluate how much service you need. Although bankruptcy can be complex, many cases are routine.

Before filing a bankruptcy case, either you or your attorney should analyze your eligibility for different forms of
debt relief available under the Bankruptcy Code and which form of relief is most likely to be beneficial for you.
Be sure you understand the relief you can obtain and its limitations To file a bankruptcy case, documents called
a Petition, Schedules and Statement of Financial Affairs, as well as in some cases a Statement of Intention need
to be prepared correctly and filed With the bankruptcy court. You will have to pay a filing fee to the bankruptcy
court. Once your case starts, you will have to attend the required first meeting of creditors where you may be
questioned by a court official called a Atrustee@ and by creditors.

If you choose to file a chapter 7 case, you may be asked by a creditor to reaffirm a debt. You may want help
deciding whether _to do so. A creditor is not permitted to coerce you into reaffirming your debts.

If you choose to file a chapter 13 case in which you repay your creditors what you can afford over 3 to 5 years,
you may also want help with preparing your chapter 13 plan and with the confirmation hearing on your plan
which will be before a bankruptcy judge.

If you select another type of relief under the Bankruptcy Code other than chapter 7 or chapter 13, you will want
to find out what should be done from someone familiar With that type of relief.

Your bankruptcy case may also involve litigation You are generally permitted to represent yourself in litigation
in bankruptcy court, but only attorneys, not bankruptcy petition preparers, can give you legal advice.

The undersigned acknowledges receipt of this disclosure required by 11 U.S.C. ' 527(b).
Date: October 14, 2011

§§a?@ha &70/;7\/&¥@@

Debtor

 

Joint Debtor (if applicable)

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United States Bankruptcy Court
District of Kansas

IN RE:

Brown, Zenobia Rene

X

Debtor(s)

Case No.
Chapter 7

 

DlSCLOSURE OF COMPENSATION OF BANKRUPTCY PETITION PREPARER

Pursuant to 11 U.S.C. § llO(h), I declare under penalty of peijury that l am not an attorney or employee of an attorney, thatI prepared or caused tn be prepared one
or more documents for filing by the above-named debtor(s)in connection with this bankruptcy case, and that compensation paid to me within one year before the filing
of the bankruptcy petition, or agreed to be paid to me, for services rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case

is as follows:

For document preparation services, I have agreed to accept .......................
Prior to the filing of this statement l have received .............................

Balance Due ..........................................................

l have prepared or caused to be prepared the following documents (itemize):
Disc|osure of Compensation of Bankruptcy Petition Preparer

Notice to Consumer Debtors Under §342(b) of the Bankruptcy Code
Certitication of Notice to Consumer Debtors Under §342(b) of the Bankruptcy Code
Chapter 7 Statement of Cun'ent Month|y Income and Means Test Calculation
Vo|untary Pet'rtion

Exhibit ”D” to Vo|untary Petitlon [Debtor]

App|ication for Waiver of Chapter 7 Filing Fee

Summary of Schedules

Schedule A - Real Property

Schedule B - Fersonal Property

Schedu|e C - Property C|aimed as Exempt

Schedule D - Creditois Holding Securved Claims

Schedule E - Creditors Ho|dlng Unsecured Priority C|aims

Schedule F - Creditors Holding Unsecured NonPriority Claims

Schedule G - Executory Contracts and Unexpired Leases

Schedule H - Codebtiors

Schedule l - Current lneome of lndividual Debtor(s)

Schedule J - Current Expenditures of individual Debtor(s)

Declaration Conceming Debtor's Schedules

Statement of Financial Affairs

Chapter 1 Individual Dehtor's Statement of Intention

Notice to Debtor by Non-Attomey Bankruptcy Petition Preparer
Verification of Creditor Matrix

Credl‘tor Matrix

Declaration Regarding Payment Advices Or Evidence of Payment Under 11

and provided the following services:
The source of the compensation paid to me was: lleebtor l:l Other (specify):

The source of compensation to be paid to me is: l:l Debtor m Other (specif`y):

........................................ $ 150.00
........................................ $ 150.00
........................................ $ 0.00

The foregoing is a complete statement of any agreement or arrangement for payment to me for preparation of the petition filed by the debtor(s) in this bankruptcy case.

To my knowledge no other person has prepared for compensation a document for filing in connection with this bankruptcy case except as listed below:

NAME:

 

 

 

SSN:
SOCIAL SECURITY NUMBER
Sig“‘““’° XXX-XX-XXXX 10/14/2011
Social Security number of bankruptcy Date

Crysta| Neal, Manager
Printed name and title, if any, of Bankruptcy Petition Preparer

Address: 4298 E. 300 S.
LAOTTO, |N 46763

petition preparer. (If bankruptcy petition
preparer is not an individual, state the
Social Security number of the officer,
principal, responsible person or partner of
the bankruptcy petition preparer.)
(Required by ll U.S.C. § 110.)

A bankruptcy petition preparer s failure to comply with the provision of title 11 and the F ederal Rules ofBankruptcy Procedures may result m f nes or imprisonment or both.
11 U.S.C §110, 18 U.S.C. §156.

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BZOlB (Form 201B) (12/09)

United States Bankruptcy Court
District of Kansas

IN RE: Case No.

Brown, Zenobia Rene Chapter 7
Debtor(s)

CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
UNDER § 342(b) OF THE BANKRUPTCY CODE

 

 

Certificate of [Non-Attorney] Bankruptcy Petition Preparer

I, the [non-attomey] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
notice, as required by § 342(b) of the Bankniptcy Code.

 

Crysw| Neal, Manager XXX-XX-XXXX

Printed Name and title, if any, of Bankruptcy Petition Preparer Social Security number (If the bankruptcy
Address: petition preparer is not an individual, state
4293 E_ 300 3 the Social Security number of the officer,

 

LAOTTO m 46763 principal, responsible person, or partner of

the bankruptcy petition preparer.)
x ( ` §§ f l Oaj_/Q (Required by 11 U.S.C. § 110.)
Signature of ljankruptcy Petition Preparer of ofiicer, principal, responsible person, or

partner whose Social Security number is provided above.

Certif'icate of the Debtor

l (We), the debtor(s), affirm thatl (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.

l\
Brown, Zenobia Rene X ”i ,( D___ ____“M 10I14I201 1
Printed Name(s) of Debtor(s) ` nature of Debtor Date

Case No. (if knovm) X

 

 

Signature of Joint Debtor (if any) Date

 

Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by ll U.S.C. § 342(b) only if the certification has

NOT been made on the Voluntary Petition, Official Form B 1. Exhibit B on page 2 of Form Bl contains a certification by the debtor’s
attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
page 3 of Form Bl also include this certification.

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nsA (oni¢iai Form 6A) (12/07)

IN RE Brown, Zenobia Rene Case No.
Debtor(s) (If known)

SCHEDULE A - REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equimble, or future interest, including all property owned as a cotenant, community
property, or in which the debtor has a life estate Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit If the debtor is
married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of` Property.”

 

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Execntory Contracts and Unexpired Leases.

lf an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is liled, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

 

 

 

 

 

 

 

g ?-i cURRENT vALUE or~
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TOTAL 90,0°°.00

 

 

 

(Report also on Summary of Schedules)

Case 12-40119 Doc# 1 Filed 02/08/12 Page 10 of 46

 

sun (onieiai Form sn) (12/07)

IN RE Brown, Zenobia Rene Case No.
Debtur(s) (If knowu)

SCHEDULE B - PERSONAL PROPERTY

Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “X” in the
appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
and the number of the category lf the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
“C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is tiled, state the amount of any exemptions claimed only
in Schedule C ~ Property Claimed as Exempt.

 

Do not list interests in executory contracts and unexpired leases on this sehedule. List them in Schedule G - Execntory Cootraets and Unexpired Leases.

If tile property is being held for the debtor by someone else, state that person’s name and address under “Descn'ption and Location of Property.” If the property is being
held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as “AB., a minor child, by John Doe, guardian." Do
not disclose the child's name. See, ll U.S.C. §112 and Fed. 11 Bankr. P. 1007(m).

 

CURRENT VALUE OF
DEBTOR'S INTEREST lN
PROPERTY VV]THOUT
DEDUCI'ING ANY
SECURED CLA!`M OR
EXEMPTION

TYPE OF PR()PERTY DESCR]PTION AND LOCATION OF PROPERTY

mZOZ

HUSBAND, WEFE, JOINT,
OR COMMUNITY

 

1_ Cush un hand No description 0.00

2_ checking Savings m other financial Checking security bank of kansas city 7364 state avenue, N 0.00
accounts, certificates of deposit or kansas Cify, ks

§§n%;$b:ilbdmmdg‘$;ns:vl;gns ‘;nn‘;`°a“’ Checking account mutual savings assoc. 403 e 4th st 172.00

homestead associations, or credit tongan°xle’ ks 66086

unions, brokerage houses, or

cooperatives

3_ security deposits with public umicies, X
telephone companies landlords, and
others

_ Household goods and mishings, Living room and bedroom furniture 2939 n. 76th st kansas city 800.00
include audio, video, and computer kansas 661 09

°q“i*"“e“‘~ Teievision a stereo 2939 n. rath st kansas city kansas 66109 150.00

5_ gooks, pictures and other art objects, Books, music, and collectibles 2939 n. 76th st kansas city 500.00
antiques, stnmp, coin, record, mpe, kansas 661 09
compact disc, and other collections or
collectibles.

6_ wea,j,,g apparel Clothing 2939 n. 76th st kansas city kansas 66109 800.00

7_ pm andjewel,y_ Rings, watches, necklaces and earrings 2939 n. 76th st kansas 500.00
city kansas 66109

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.>

8. Firwrms and sports, photographic, X
and other hobby equipment

9. lnterest in insurance policies. Name X
insurance company of each policy and
itemize surrender or retimd value of
each.

10. Auuuities. nemim and name each X
issue.

ll. interests in an education IRA as X
defined in 26 U.S.C. § 530(b)(l) or
under a qualified State tuition plan as
defined in 26 U.S.C. § 529(b)(l).
Give particulars (File separately the
record(s) of any such interest(s)_ ll
U.S.C. § 521(c).)

12. interests iu lRA, ERISA, Keogh, or X
other pension or profit sharing plans.
Give particulars

13. Stock and interests in incorporated X
and unincorporated businesses
ltemize.

 

 

 

 

 

 

 

 

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B6B (Offlcial Form 6B) (12/07) - Cont.

IN RE Brown, Zenobia Rene Case No.
Debtor(s) (If known)

SCHEDULE B - PERSONAL PROPERTY
(Continuation Sheet)

 

 

CURRENT VALUE OF
DEBTOR'S lN'l'ERES’I` lN
PROPERTY WlTHOUT
DEDUCI'ING ANY
SECURED CLAIM OR
EXEMPTION

TYPE OF PROPERTY DESCRII’I'ION AND LOCATION OF PROPERTY

szz
HUSBAND, WIFE, JOINT,
OR COMMUNITY

 

14. interests in partnerships or joint
ventures Itemize.

15. Government and corporate bonds and x
other negotiable and non-negotiable
instruments

16. Accounts receivable x

17. Alimony, maintenance, support, and x
property settlements in which the
debtor is or may be entitled. Give
particulars

18. outer liquidated debts owed to debtor X
including tax relimds. Give
particulars

19. Equitable or future interest, life X
estates, and rights or powers
exercisable for the benefit of the
debtor other than those listed in
Schedule A - Real Property.

20. Contingent and noncontingent x
interests in estate of a dccedent, death
benth plan, life insurance policy, or
trust

21. other contingent and unliquidated X
claims of every nature, including tax
refunds, counterclaims of the debtor,
and rights to setoff clairns. Give
estimated value of each.

22. Pntents, oopyrights, and other Songs library of congress N 0.00
intellectual property. Give particulars
23. Licenscs, franchises, and other x
general intangibles Give particulars

24. Customer lists or other compilations X
containing personally identifiable
information (as defmed in ll U.S.C, §
101(41A)) provided to the debtor by
individuals in connection with
obtaining a product or service fi'om
the debtor primarily for personal,
family, or household purposes

25, Automobiles, trucks, trailers, and Van 2939 n. 76th st kansas city kansas 66109 10,000.00

other vehicles and accessories

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26. Boats, motors, and accessories X
27. Aircratt and accessories X
28. Onioe equipment furnishings, and Computer 2939 n. 76th st kansas city kansas 66109 170.00

supplies
29. Machinery, fixtures, equipment, and x

supplies used in business.
30, Inventory. x
31_ Animals_ 2 dogs, 1 cat 1 turtle 2939 n. 76th st kansas city kansas 66109 N 0.00

 

 

 

 

 

 

 

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non (onioiut Form sn) (12/07) - Cont.

 

 

 

 

 

 

 

 

 

 

 

 

IN RE Brt:>wnj Zenobia Rene Case No.
Debtor(s) (If known)
SCHEDULE B - PERSONAL PROPERTY
(Continuation Sheet)
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g § cURRENT vALUE or
§ § § °§?§r§i=_“§u““§§r“§§§i“
TYPE or Pnoi>atu'v N DEscRnYnoN AND chrtoN or interer § c DEDUCTING ANY
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a § ExEtvo>rroN
§
32. Crops - growing or harvested. Give
particulars
33. Fanning equipment and implements X
34. Fann supplies, chemica]s, and feed. X
35. Other personal property of any kind Lawnmower 2939 n. 76th st kansas city kansas 66109 N 300.00
“°* already “S‘°d~ I"““‘Ze~ roots 2939 n. 16th st kansas city kansas 6s109 200.00
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TOTAL 13,592.00
_ _ (Include amounts from any continuation sheets attached
g condonation SheetS attached Report total also on Summary of Schedules.)

Case 12-40119 Doc# 1 Filed 02/08/12 Page 13 of 46

 

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B6C (Orncini Form 6C) (04/10)
IN RE Brown, Zenobia Rene

Debtor(s)

SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
[:\ Check if debtor claims a homestead exemption that exceeds $l46,450. *

Debtor elects the exemptions to Which debtor is entitled under:

(Check one box)
ij 11 U.s_c. § 522(b)(2)
[111 u_s.C. § 522(b)(3)

Case No.

 

(lfknown)

 

 

kansas 661 09

 

 

CURREN'I` VALUE
DEsceroN or PRoPERTY smaqu LAw Pnovmmo EACH ExEMPrIoN VALMSLMED wrrg§§¥gl;§§gn}m
EXEM!’HONS
SCHEDULE A - REAL PROPERTY
4 br 2 bath residence 2939 n. 76th st KSA § 60-2301 31,000.00 90,000.00
SCHEDULE B - PERSONAL PROPERTY
Living room and bedroom furniture 2939 KSA § 60-2304(3) 800.00 800.00
n. 76th st kansas city kansas 66109
Television & stereo 2939 n. 76th st kansas KSA § 60-2304(a) 150.00 150.00
city kansas 66109
Clothing 2939 n. 76th st kansas city KSA § 60-2304(3) 800.00 800.00
kansas 66109
Rings, watches, neck|aces and earrings KSA § 60-2304(h) 500.00 500.00
2939 n. 76th st kansas city kansas 66109
Van 2939 n. 76th st kansas city kansas KSA § 60-2304(c) 10,000.00 10,000.00
66109
Computer 2939 n. 76th st kansas city KSA § 60-2304(3) 170.00 170.00

 

 

 

* Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or aj?er the date of adjustment

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B6B (Official Form 6B) (12/07)

IN RE Brown, Zenobia Rene Case No.
Debtor(s) (Iflmown)

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
date of filing of the petition The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
security interests

 

List creditors in alphabetical order to the extent practicable lf a minor child is the creditor, state the child's initials and the name and address of the child's parent or
guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name See, il U.S.C. §112 and Fed, R_ Bankr. P. 1007(m). Ifall secured creditors
will not fit on this page, use the continuation sheet provided

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include die entity on the appropriate
schedule ofcreditors, and complete Schedule H - Codethrs. lf a joint petition is tiled, state whether the husband, wife, both of them, or the marital community may be liable
on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

If the claim is contingent place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

Total the columns labeled “Amount of Claim Without Deducting Value of Collatera ” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
of the completed schedule Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral"` also on the Summary of Schedules and,
if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any77 on the Statistical Summary of Certain
liabilities and Related Data.

|:_\ Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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§ §
§ ACCOUNT NO_ october 2010 Home loan 59,000.00
§ Saxon Morlage
§ 4708 Mercantile Drive North
F_- FO|'f worlh, TX 76137
o
§
§ vALUE $ 90,000.00
\.L
d ACCOUNT NO.
§
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VALUE $
ACCOUNT NO.
VALUE $
ACCOUNT NO.
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l Subtotal
__4_ 7 0 continuation sheets attached (Total of this page) $ 59,000.00 $
Total
(Use only on last page) $ 59,000.00 $
(Report also on (If applicable report
Summary of also on Statistica.l
Sehedules.) Summary of Certain
Liabilities and Relsted
Dm.)

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B6E (thcial Form 6B) (04/10)

IN RE Brown, Zenobia Rene Case No.
Debtor(s) (If known)

SCHEDULE E - CREDITORS HOLD[NG UNSECUREI) PRIORITY CLAIMS

A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
priority should be listed in this schedule In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition, Use a separate continuation
sheet for each type of priority and label each with the type of priority.

 

The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
not disclose the child's name. See, ll U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

lf any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
schedule ofcreditors, and complete Schedule H-Codebtors. lf a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." Ifthe claim is contingent, place an "X" in the column labeled
"Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
may need to place an "X" in more than one of these three columns.)

Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
on the last sheet of the completed schedule. Report this total also on the Summary of Schedules

Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule Individual debtors with primarily consumer debts report this total also on the
Statistical Summary of Certain Liabilities and Related Data.

Report the total of amounts n__o_t entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet Report the total of all amounts not entitled to priority
listed on this Schedule E in the box labeled “Totals" on the last sheet of tire completed schedule Individual debtors with primarily consumer debts report this total also on
the Statistical Summary of Certain Liabilities and Related Data

MCheck this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

[___] Domestic Support Obligations
Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in ll
U.S.C. § 507(a)(l).

[:| Extensions of credit in an involuntary case
Claims arising in the ordinary course of the debtor‘s business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. ll U.S.C. § 507(a)(3).

[:] Wages, salaries, and commissions
Wages, salaries, and commissions, including vacation, severance, and sick leave pay ow`mg to employees and commissions owing to qualifying
independent sales representatives up to $l 1,725* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred iirst, to the extent provided in ll U.S.C. § 507(a)(4).

|:| Contributions to employee benefit plans
Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred iirst, to the extent provided in ll U.S.C. § 507(a)(5).

[:] Certain farmers and fishermen
Claims of certain farmers and fishermen, up to $5,775* per farmer or tisherman, against the debtor, as provided in ll U.S.C. § 507(a)(6).

m Deposits by individuals
Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, farnily, or household use, that
were not delivered or provided ll U.S,C. § 507(a)(7).

[:] Taxes and Certain Other Debts Owed to Governmental Units
Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in ll U.S.C. § 507(a)(8).

L__| Commitments to Maintain the Capital of an Insured Depository Institution
Claims based on commitments to the FDIC, RTC, Director of the Offlce of Thrift Supervision, Comptroller ofthe Currency, or Board of Governors
of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution l l U.S.C. § 507 (a)(9).

f:} Claims for Death or Personal Injury While Debtor Was Intoxicated
Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
a drug, or another substance ll U.S.C. § 507(a)(lO).

* Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or atter the date of adjustment

o continuation sheets attached

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B6F (Oh°rcial Form 6[") (12/07)

IN RE Brown, Zenobia Rene Case No.
Debtor(s) (If known)

SCHEDULE F - CREDITORS HOLD[NG UNSECURED NONPRIORITY CLAIMS

State the narne, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, ll U.S.C. §l 12 and Fed. R. Bankr. P. 1007(m). Do not include claims
listed in Schedules D and E. If all creditors will not iit on this page, use the continuation sheet provided

 

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
schedule ofcreditors, and complete Schedule H - Codebtors. lfa joint petition is iiled, state whether the husband, wife, both of them, or the marital community may be liable
on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

If the claim is contingent, place an “X” in the column labeled “Cont.ingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule Report this total also on the Summary of
Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Smtistical Summary of Certain Liabilities and Related Data.

[:| Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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cREDrron's NAME, MAn.lNG Ar)anss 2 § DArr~; cLArM wAs mcuRRED AND §§ § § AMoUN'r
H‘ICLUDNG ZIP CODE, AND ACCOUNT NUMBER § 3 CONSIDERATION FOR CLAIM. IF CLAIM IS g 5 § OI"
>_ (See lnsuur:!ionrAbove») g ` 0 SUBJEC'I` TO SETOFF, SO STATE § g 2 CLAlM
E Q § § O § o
2 a o o
ii §
§
¢IJ
§ ACCOUNT N0. N Sept 2010 Other
f Asset Acceptance
§ Po Box 1630
§ Warren, Ml 48090
§
3 411.00
§ ACcoUNT No. N Oct 2010 Other
§ At&t
uN'1 1813 Village West Farkway
;; Kansas City, KS 66109
O
3
§ 200.00
g ACCoUNT NO. N September 2010 Law suit
Cavalot Portfolio Service
Po Box 27288
Tem pe, AZ 85285
1 ,089.00
ACCOUNT NO. N August 2009 Other
First National - Firestone
Po Box 81 31 5
C|eveland, OH 44181
1 ,275.00
Subtoml
1 continuation sheets attached (rotal ofmis page) s 2,975.00
Total
(Use only on last page of the completed Schedule F. Report also on
the Summary of Schedules and, if applicable, on the Statistical
Summary of Certain Liabilities and Related Data.) $

 

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B6F(0ff1cial Form 6F) (12/07) - Cont.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

IN RE Brown, Zenobia Rene Case NO_
Debtor(s) (If known)
SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)
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z ,
CREDITOR’S NAME, MAIL]NG ADDRESS 2 § DATE CLAIM WAS INCURRED AND § § g AMOUN'I`
INCLUDING ZlP CODE, AND ACCOUN'I NUMBER § ar CONSlDERA'l`lON FOR CLAlM. IF CLAIM lS § § § OF
(S¢e lnsmwriamAbave.) 3 § 8 sUBJECT 10 sEToFF, so sTATE § g § cLArM
0 z 0 § Q
a O °
§
ACCOUNT NO. N August 2009 Credit cards
Hsbc Bank ~
Po Box 5253
Carol Stream, lL 60197
547.00
ACCOUNT NO. N Oct 2011 Cther
Kansas Gas Service
Po Box 219046
Kansas City, MO 64121
300.00
AccouNT NO. N Jan 2010 Credit cards
Lane Bryant Retail
450 Winks Lane
Bensalem, PA 19020
368.00
ACCOUNT No_ N Sept 2010 Other
Midnight Velvet
1 1 1 2 7th Ave
Monroe, Wl 53566
1 23.00
ACCOUNT NO. N Sept 2010 Law suit
National Recovery Agency
2491 Paxton St
Harrisburg, PA 1 71 1 1
42.00
AccoUNT N0_ N Feb 2009 Other
ij Acq Llc
575 Underhill Blvd, Suite 224
Syosset, NY 1 1791
104.00
ACCoUN'r NO_ N Credit cards
Sears - Citi Bank
Po Box 6241
Sioux Fal|, SD 57117
510.00
Sheet no. 1 of 7 7 1 continuation sheets attached to Subtotal
Schedule of Cneditors Holding Unsecured Nonpriority Claims (Total of this page) $ 1 ,994.00
Towl
(Use only on last page of the completed Schedule F. Report also on
the Summary of Schedules, and if applicable, on the Statistical
Summary of Certain Liabilities and Related Dat:L) $ 4,969.00

 

 

 

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Bsc (omeial Form GG) (12/07)

IN RE Brown, Zenobia Rene Case No.
Debtor(s) (If known)

SCHEDULE G - EXECUTORY CONTRAC'I`S AND UNEXPlRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property lnclude any timeshare interests State nature of debtor’s interest in
contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease Provide the names and complete mailing addresses of all other parties to each
lease or contract described lf a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
such as "A.B., a minor child, by John Doe, giardian." Do not disclose the child's name. See, ll U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

 

MCheck this box if debtor has no executory contracts or unexpired leases.

 

DESCRH’I'ION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
STATE WHE'I'HER LEASE IS FOR NONRESIDEN'I'IAL REAL PROPERTY
STATE CON'I'RACT NUM'BER ()F ANY GOVERNMENT CONTRACT.

NAME AND MAl]..lNG ADDRESS, fNCLUDING ZIP CODE
OF O'I'HER PARTIES TO LEASE OR CONTRACT

 

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B6H (Offlcial Form 6B) (12/07)
IN RE Brown, Zenobia Rene Case NO.

 

 

Debtor(s) (If known)
SCHEDULE H - CODEBTORS

provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
of creditors. Include all guarantors and co-signers. lf the debtor resides or resided in a community property state, commonwealth or territory (including Alaska, Arizona,
Califomia, ldaho, Louisiana, Nevada, New Mexico, Puerto Rieo, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
of the case, identify the name of the debtor’s spouse and of any fenner spouse who resides or resided with the debtor in the community property state, commonwealth, or
territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case lf a minor child is a codcbtor or
a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

MCheck this box if debtor has no codebtors.

 

NAME AND ADDRESS OF CODEBTOR NAME AND ADDRESS OF CREDITOR

 

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nn (omcm Form 61) (12/07)

IN RE Brown, Zenobia Rene Case No.
Debtor(s) (rfknown)

SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

The column labeled “Spouse” must be completed in all cases Eled by joint debtors and by every married debtor, whether or not a joint petition is filed, unless the spouses
are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on this form may differ from the current
monthly income calculated on From 22A, 22B, or 22C.

Debwr‘s Mamal status DEPENDENTS 0F DEBTOR AND sPousE
Single RELAHONSHIP(S): AGE(S):

 

 

 

 

 

 

EMPlDYMENT: DEBTOR SPOUSE
Occupation
Name of Employer

 

How long employed
Address of Employer

 

 

 

 

INCOME: (Estimate of average or projected monthly income at time case filed) DEBTOR SPOUSE
l. Current monthly gross wages, salary, and commissions (prorate if not paid monthly) $

2. Estimated monthly overtime $

3. sUBToTAL |$ 0.00 $ l
4. LESS PAYROLL DEDUCTIONS

 

€6&9

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§
§
‘.’,,’
§ a. Payroll taxes and Social Security $ $
§ b. Insurance $ $
§ c. Union dues $ $
§ d. Other (specify) $ $
§ $ $
§ 5. SUBTOTAL OF PAYROLL DEDUCTIONS $
§ 6. TOTAL NET MONTHLY TAKE HOME PAY $
N
§ 7. Regular income from operation of business or profession or farm (attach detailed statement) $ $
§ 8. Income from real property $ $
33 9. Interest and dividends $ $
@ 10. Alimony, maintenance or support payments payable to the debtor for the debtor’s use or
that of dependents listed above $ $
ll. Social Security or other government assistance
(SPOCify) $ $
$ $
12, Pension or retirement income $ $
13. Other monthly income
(Specify) Unemployment $ ' 856.00 $
$ $
$ $

 

14. SUBTOTAL OF LINES 7 THROUGH 13 856.00 $
15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14) $

 

 

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15;
if there is only one debtor repeat total reported on line 15) $ 856.00

(Report also on Summary of Schedules and, ii`applicable, on
Statistica| Summary ofCertain Liabilities and Related Data)

 

 

 

l7. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document
None

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B6J (Oflicial Form 6J) (12/07)

IN RE Brown, Zenobia Rene Case No_
Debtor(s) (Ifknown)

SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)

Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case tiled. Prorate any payments made biweekly,
quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from the deductions from income allowed
on FormZZA or 22C,

\:] Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of
expenditures labeled “Spouse.”

 

l . Rent or home mortgage payment (include lot rented for mobile home) $ 699.00
a. Are real estate taxes included? Yes _L_ No m
b. ls property insurance included? Yes _L_ No M
2. Utilities:
a. Electricity and heating fuel
b. Water and sewer
c. Telephone
d. Other

129.00
30.00
69.00

 

 

 

M____MQ‘Q=;QQ
~.n_._,.”._._‘l_~'zo._-QQ
7 30.00

. Home maintenance (repairs and upkeep)

. Food

. Clothing

. Laundry and dry cleaning

. Medical and dental expenses

. Transportation (not including car payments)

.Recreation, clubs and entertainment, newspapers, magazines, etc.

10. Charitable contributions

l 1. lnsurance (not deducted from wages or included in home mortgage payments)
a. Homeowner’s or renter’s

b. Life

c. Health
d. Auto
e. Other

 

300.00
40.00

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12, Taxes (not deducted from wages or included in horne mortgage payments)

(SP€Cify)

13. lnstallment payments: (in chapter ll, 12 and 13 cases, do not list payments to be included in the plan)
a. Auto
b. Other

 

6966

345.0Q

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14. Alimony, maintenance, and support paid to others

15. Payments for support of additional dependents not living at your home

16. Regular expenses from operation of business, profession, or farm (attach detailed statement)
17. Other

!

 

 

66%6699966$669999

 

 

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and, if
applicable, on the Statistical Summary of Certain Liabilities and Related Data. $ 1,921.00

 

 

 

19. Describe any increase or decrease in expenditures anticipated to occur within the year following the filing of this document
None

20. STATEMENT OF M()NTHLY NET INCOME

a. Average monthly income from Line 15 of Schedule I $ m 856.00
b. Average monthly expenses from Line 18 above S 1,921.00
c. Monthly net income (a. minus b.) $ -1,065.00

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M|SSOUR| DEPARTMENT OF LABOR AND INDUSTR|AL RELATlONS 3

DivisioN oF EiviPLoYileNT SEcuRiTY
. ,

P.O. Box 391 5 0
JEFFERsoN CrrY, MO 65102 \'
Fax: 573-751-9730

    
 
   

 

(Benet'its)
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ZENOBIA BROWN Date Mai| d . z

2939 N 76TH ST
KANSAS CITY KS 66109-1615

 

 

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FOUR-WEEK REPORT|NG REQU|REMENT

¥ou are required to report' in person to a Missouri Division of Workforce Development (DWD) Career Center at least
once every four weeks. lf you still are claiming unemployment insurance (U|) benefits, you may meet this
requirement by reporting to the Missouri DWD Career Center or designated office that' is most convenient for you.
See the list of locations on the enclosed “Work Search Record. ” This ln-p'erson reporting is in addition to
your weekly certification (cleir`n) by telephone or lnternet. Do riot take this form when you report ln-
person to a Missouri DWD Career Center. it' is for Division of g ' _ urity(DES) use only. g

 
 
  

except for state hoiidays, between 9 a. m. and 4 p. m. Any benefit » = - may be due for the week ending

08-1 3- 1 1 cannot be released until you report. When you report to a Missouri DWD Career Center, ask for
further instructions about how to complete your Ul four-week reporting requirement Expect to stay for at least 45
minutes to receive reemployment services. Piease bring a driver’ s license or government issued identification

showing your photo and date of birth. f

To complete the reporting you will need to use the Personal ldentlflcatlon Number (P_lN) that you
use torfile your weekly certification (cialm).

lMFORTANT! Reporting may be excused if you are working or ill during the week' in which you are scheduled to
report. if so, and you cannot report on or before the date shov\m, complete and mail or fax this notice to the
address indicated above. Piease return this entire notice. Faiiure to report as scheduled or to return this
notice indicating why you cannot report may result in a delay or denial of your U| benefit payments.

Remember, to be eligible for U| benefits you must he able and available for full-time Work, and actively seeking
work for each week you clalm. Please read your “What You Need to Know About Unempioyment insurance ln
Missouri” pamphlet for additional information regarding your eligibility for benef' ts

l CANNOT REPORT ON OR BEFORE THE DATE SHOWN ABOVE BECAUSE:

l was working during the week' in which the “report on or before date” fa|is. l understand l must report all
earnings before deductions if l file a certification (claim) for this week.

l was ill during the week in which the “report on or before date” fal|s. l understand l must be able to work
each day for the type of full-time work l am seeking and l must report my illness if l file a certification (c|aim)
for the week.

if either of these reasons is checked, mail or fax this entire notice to the address at the top of this letter.

 

 

 

 

 

 

 

Regional Claims Centers g
Jefierson city ................. 573-751-9040 Be<=an$e Of federal budget cuts, some irl-person
Kansas city ..................... 816-889-3101 reporting Sifes may now be Ci°Sed- Before visiting your
springfield ....................... 417-895-6351 four-week in-Pers°n reporting location, verify that ii is
st_ Louis __________________________ 314.340.4950 listed on the reverse side of the “Work Search Record.”
All Other Areas _______________ 800.320.2519 |f your location is not on the current |ist, you must
report to an alternate location or DWD Career Center.

 

 

 

Relay Missouri: 800-735-2966 ezze(oeii)
u.i.p .
oes-eccisi%

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M|SSOUR| DEPARTMENT OF LABOR AND lNDUSTR|AL RELATIONS

DlV|SlON OF EMPLOYMENT SECUR|TY

P.0. Box 391 5
JeFFeRson Cmr, lilO 65102
Fa)l: 573-751-9730

 

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ZENOBIA BROWN l Date Mailed: 1 0 - 2 1 - 1 1

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TONGANOXIE KS 66086-5154
ozzs sunaasarszllullsus

FOUR-WEEK REPORT|NG REQUIREMENT

You are required to report' ln person to a Missouri Division of Workforce Development (DWD) Career Genter at least
once every four weeks. lf you still are claiming unemployment' insurance (Ul) benefits, you may meet this
requirement by reporting to the Missouri DWD Career Center or designated office that' rs most convenient for you.
See the list of locations on the enclosed “Work Search Record.” 'l'hls ln-person reporting ls in addition to
your weekly certification (clalm) by telephone or lnternet. Do not take this form when you report in-
person to a Missouri DWD Career Center. lt is for Division of Employment Security (DES) use only.

To remain eligible for Ul benefit payments, report on or before 10-28- 11 Mor_\_¢_!gy_ through Friday,
except for state hoiidays, between 9 a. m. and 4 p. m. Any benefit payments that may be due for the week ending

10-29-11 cannot be released until you report. When you report to a Missouri DWD Career Center, ask for ~
further instructions about how to complete your Ul four-week reporting requirement. Expect to stay for at least 45
minutes to receive reemployment services. Please bring a driver’s license or government issued identification
showing your photo and date of birth. ' t s ~ ,

To complete the reporting you will need to use the Personai ldentlflcation Number (FlN) that you
use to file your weekly certification (clalm).

lMPDRTANT! Reporting may be excused if you are working or ill during the week in which you are scheduled to
report. if so, and you cannot report on or before the date shown, complete and mail or fax this notice to the
address indicated above. Please return this entire notice. Failure to report as scheduled or to return this
notice indicating why you cannot report may result in a delay or denial of your Ul benefit payments.

Remember, to be eligible for Ul benefits you must be able and available for full-time work, and actively seeking
work for each week you claim. Please read your "What You Need to Know About Unempioyment insurance ing
Missouri” pamphlet for additional infomlation regarding your eligibility for benefits.

l CANNDT REPORT ON OR BEFCRE `l'l"lE DATE SHOWN ABQVE BECAUSE:

l was working during the week' ln which the “report on or before date” falls. l understand l must report all
earnings before deductions ifl file a certification (claim) for this week.

l was ill during the week rn which the “report on or before date” falls. l understand i must be able to work
each day for the type of full-time work l am seeking and l must report my illness if l file a certification (claim)
for the week.

lf either of these reasons is checked, mail or fax this entire notice to the address at the top of this letter.

 

 

 

 

 

 

 

Rggional Claims Centers
Jeffers°n city _________________ 573_751_9040 Because of federal budget cuts, some in-person
Kansas City ..................... 816-88®-3101 reporting Sites may “°W be Cl°$ed- Before Vi$itiiig Wl"
springfield ....................... 417-895-8351 four-week in-Person reporting location verify that if is
St_ Louis __________________________ 314,340.4950 listed on the reverse side of the “Work Search Record.”
All other Areas _______________ 300.320.2519 if your location is not on the current list, you must
report to an alternate location or DWD Career Center.

 

 

 

Relay Missouri 300-735-2966 merwin
U.i. .
DES»BCC1;';%

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B6 Summary (Form 6 - Summary) (12/07)

United States Bankruptcy Court
District of Kansas

IN RE: Case No.

Brown, Zenobia Rene Chapter 7
Debtor(s)

SUMMARY OF SCHEDULES

Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report tile totals from Schedules A, B, D, E, F, I, and J in the boxes
provided Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets Add tile amounts of all claims from Schedules D, E, and F to
determine the total amount of the debtor’s liabilities ludividual debtors also must complete the “Statistical Summary of Certain Liabilitic§h and Related Data” if they file

 

 

 

 

     
 
    
   
 
   
       

 

 

 

 

 

a case under chapter 7, ll, or 13. .
NAME OF SCHEDULE A(T\:;A;?l~ll]oE)D NUSRI‘IEBI\;:ESOF ASSETS y 7 LrAsrnrrll;s 7 organ 7 y
A - neal Properiy Yes 1 $ so,ooo.oo n t 7 ii y
B - Personal Property Yes 3 13,592.00
C - Property Claimed as Exempt Yes 1
D - Creditors Holding Secured Claims Yes 1 59,000.00 '

 

 

E - Creditors Holding Unsecured Priority »_:
Claims cruel of claims on schedule E) Yes 1 j 0'00 f

 

F - Creditors Holding Unsecured

Nonpriority Claims Yes 2 l

 

 

G - Executory Contracts and Unexpired

Leases Yes 1

 

H - Codebtors Yes 1 :;

 

I - Current Income of Individual

Debmr($) Yes 1 fin

 

 

J - Current Expenditures of lndividual : ~
Debwr(s) Yes 1 : ~ 1,921.00

 

 

 

 

TOTAL 13 $ 103,592.00 $ 63,969.00

 

 

 

 

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' ' For`m 6 - Statistical Summary (12/07)

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United States Bankruptcy Court
District of Kansas

IN RE: Case No.

Brown, Zenobia Rene Chapter 7
Debtor(s)

STATISTICAL SUM]VIARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

If you are an individual debtor Whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (ll U.S.C. §
101 (8)), filing a case under chapter 7 , 11 or 13, you must report all information requested below.

 

[:] Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

'I`ype of Liability Amount

Domestic Support Obligations (from Schedule E) $ 0.00

T axes and Certain Other Deth Owed to Governmental Units (from Schedule E) ` $ 0.00

Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether

disputed or undisputed) $ 0.00

Student Loan Obligations (from Schedule F) $ 0.00

Domestic Suppolt, Separation Agreement, and Divorce Decree Obligations Not Reported on

Schedule E $ 0.00

Obligations to Pension or Proiit-Sharing, and Other Similar Obligations (from Schedule F) $ 0.00
TOTAL $ 0.00

State the following:

Average income (from Schedule I, Line 16) $ 856.00

Average Expenses (from Schedule J, Line 18) $ 1 ,921 .00

Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line ll; OR, Form 22C

Line 20 ) $ 856.02

 

 

 

 

State the following:

 

l . Total from Schedule D, “UNSECURED PORTION, IF ANY” column

 

2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.

 

 

3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column

 

 

4. Total from Schedule F _ z ` 4,969.00

5. 'l`otal.of non-priority unsecured debt (sum of l , 3, and 4)

 

 

 

 

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136 Declaration (Oll`icial Form 6 - Declaration) (12/07)

IN RE Brown, Zenobia Rene Case No.
Debtot(s) (lf known)

DECLARATION CONCERNING DEBTOR'S SCHEDULES

 

DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

I declare under penalty of perjury thatI have read the foregoing summary and schedules, consisting of 15 sheets, and that they are
true and correct to the best of my knowledge, infonnation, and belief

Date: October 14, 2011 Signature:

 

 

 

Date: Signature:
(Ioint Debtor, if any)

[If joint case, both spouses must sign.]

 

DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See ll U.S.C. § 110)

l declare under penalty of perjury that: (l) I am a bankruptcy petition preparer as defined in ll U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under ll U.S.C. §§ llO(b), llO(h),
and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to ll U.S.C. § 110(h) setting a maximum fee for services chargeable by
bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
any fee horn the debtor, as required by that section.

Crysz Neal, Manager 499~76-0146
Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer Social Security No. (Required by ll U.S.C. § 110.)

If the bankruptcy petition preparer is not an individual state the name, title (ifany), address, and social security number of the officer, principal,
responsible person, or partner who signs the document
4298 E. 300 S.

LAOTTO, IN 46763
Address ,

Q¢§géfw P\`k,l~/Q October 14, 201 1
Signature of ankruptcy Petition Preparer Date

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
is not an individual:

 

 

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Oj'z`cial F arm for each person,

A bankruptcy petition preparer's failure to comply with the provision of title 1 1 and the F ederal Rules of Bankruptcy Procedure may result in fines or
imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.

 

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

I, the ' (the president or other oH`icer or an authorized agent of the corporation or a

member or an authorized agent of the partnership) of the
(corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
schedules, consisting of sheets (total shown on summary page plus 1 ), and that they are true and correct to the best of my
knowledge, information, and belief.

 

Date: Signature:

 

 

(Prim or type name of individual signing on behalf of debtor)
[An individual signing on behalf of a partnership or corporation must indicate position or relationsth to debtor.]

Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.

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B7 (Ofl’icia| Form 7) (04/10)

United States Bankruptcy Court
District of Kansas

IN RE: Case No.

Brown, Zenobia Rene Chapter 7
Debtor(s)

STATEMENT OF FINANCIAL AFFAIRS

This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
is combined Ifthe case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, parmer, family
farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individuals
personal affairs To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, l 1 U.S.C. §l 12 and Fed. R. Bankr. P. 1007(m).

 

 

Questions 1 - 18 are to be completed by all debtors Debtors that are or have been in business, as defined below, also must complete Questions 19 -
25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
use and attach a separate sheet properly identified with the cm narne, case number (if known), and the number of the question

DEFINITIONS

"In business " A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership An individual debtor is "in business"
for the purpose of this form if the debtor is or has been, within six years inunediately preceding the filing of this bankruptcy case, any of the following:
an oflicer, director, managing cxecutive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
partncr, of a partriership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

"Insider. " The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of
a corporate debtor and their relatives; affiliates ofthe debtor and insiders of such afi`iliates; any managing agent of the debtor. 11 U.S.C. § 101.

 

l. lncome from employment or operation of business

N°“° State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor’s business,

M including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
case was commenced State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year inoome. Identify the
beginning and ending dates of the debtor’s fiscal year.) Ifa joint petition is filed, state income for each spouse separately. (Married debtors filing
under chapter 12 or chapter 13 must state income of both spouses whether or not ajoint petition is filed, unless the spouses are separated and a
joint petition is not filed.)

 

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2. Income other than from employment or operation of business

N"“e State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
two years immediately preceding the commencement of this case, Give particulars If a joint petition is filed, state income for each spouse
separately (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

AMOUNT SOURCE
10,933.00 Unempioyment 2009

14,000.00 Unempioyment 2010
191 ,700.00 Unempioyment 201 1

 

3. Payments to creditors
Complete a. or b., as appropriate, and c.

N°“e a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other

|Z debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
counseling agency. (Married debtors filing under chapter 12 or chapter l 3 must include payments by either or both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

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N°”e b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately

M preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
$5,850.* Ifthe debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not ajoint petition
is filed, unless the spouses are separated and a joint petition is not filed.)

* Amount subject to adjustment on 4/()1/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment

 

N°“° c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benth of creditors
M who are or were insiders. G\/larried debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
a joint petition is filed, unless the spouses are separated and ajoint petition is not filed.)

 

4. Suits and administrative proceedings, executions, garnishments and attachments

N°“° a List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
bankruptcy case, (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

N°“° b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

5. Repossessions, foreclosures and returns

N°“° List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
joint petition is not filed.)

 

6. Assignments and receiverships

N°“e a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
(Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not aj oint petition is filed,
unless the spouses are separated and joint petition is not filed.)

 

N°“e b. List all property which has been in the hands of a eustodian, receiver, or court-appointed official within one year immediately preceding the
commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

7. Gifts

N°“° List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
gifts to farnin members aggregating less than $200 in value per individual farnin member and charitable contributions aggregating less than $ 100
per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

8. Losses

N°“° List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
commencement of this case, (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

9. Payments related to debt counseling or bankruptcy

N°"° List all payments made or property transferred by or on behalf of the debtor to any persons, including attomeys, for consultation concerning debt
consolidation, relief under banlo'uptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement

of this case,
DATE OF PAYMENT, NAME OF AMOUNT OF MONEY OR DESCRIPTION
NAME AND ADDRESS OF PAYEE PAYOR IF OTHER THAN DEBTOR AND VALUE OF PROPERTY
1st Choice Bankruptcy Preparation 1 017/2011 150.00

4298 E. 300 S.
Laotto, lN 46763

Petition Preparation

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1 0. Other transfers

N“""' a List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either

g absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and ajoint
petition is not filed.)

 

N°"° b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar
M device of which the debtor is a beneficiary.

 

11. Closed financial accounts

N°“° List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise

M transferred within one year immediately preceding the commencement of this case, Include checking, savings, or other financial accounts,
certificates of deposit, or other instruments; shares and share accounts held in bariks, credit unions, pension funds, cooperatives, associations,
brokerage houses and other financial institutions (Married debtors filing under chapter 12 or chapter 13 must include information concerning
accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)

 

12. Safe deposit boxes

N°“° List each safe depositor other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
preceding the commencement of this case, (Married debtors filing under chapter 12 oi' chapter 13 must include boxes or depositories of either or
both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

13. Setoffs

N°“° List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
case, (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

14. Property held for another person
N°“e List all property owned by another person that the debtor holds or controls.

 

15. Prior address of debtor

N°"° If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
|:| that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

ADDRESS NAME USED DATES OF OCCUPANCY
17574 Evans Rd Tonganoxie, KS 66086 Zenobia rene brown Jan 1982 - Sept 1985
3206 N. 36th St Kansas City, KS 66104 Zenobia rene brown Jan 1962 -2002

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16. Spouses and Forrner Spouses

N°'“" If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.

 

17. Environmental Information
For the purpose of this question, the following definitions apply:

“Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
the cleanup of these substances, wastes or material.
“Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
debtor, including, but not limited to, disposal sites.

“Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
or similar term under an Environmental Law.

 

N°“° a List the name and address of` every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
M potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date cf the notice, and, if known, the
Environmental Law.

 

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N°“e b. List the name and address of every site for which the debtor provided notice to a governmental unit cfa release of`Hazardous Material. indicate
the governmental unit to Which the notice was sent and the date of the notice.

 

N°“° c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

 

18. Nature, location and name of business

N°“° a If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates

M of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
preceding the commencement of this case.

Ifthe debtor is apartnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
preceding the commencement of this case,

Ifthe debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
preceding the commencement of this case.

 

N°“e b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.

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[If completed by an individual or individual and spouse ]

I declare under penalty of perjury that l have read the answers contained in the foregoing statement of financial affairs and any attachments
thereto and that they are true and correct.

Date: October 14, 201 1

 

Date: Signature
of Joint Debtor
(if any)

 

 

DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 1 l()(b), 1 10(h),
and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to ll U.S.C. § 110(h) setting a maximum fee for services chargeable by
bankruptcy petition preparers, l have given the debtor notice of` the maximum amount before preparing any document for filing for a debtor or accepting
any fee from the debtor, as required by that section.

 

 

Crystal Neal, Managgr XXX-XX-XXXX
Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer Social Security No. (Required by 11 U.S.C. § 110.)

If the bankruptcy petition preparer is not an individual state the name, title (ifany), address, and social security number of the ojicer, principal
responsible person, or partner who signs the document

 

 

 

 

4298 E. 300 S.

LAO'lTO, |N 46763

Address

FMM l\q-\:n 32 october 14, 2011
Sig,nature of Bzdikruptcy Petition Preparer Date

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
is not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person

A bankruptcy petition preparer's failure to comply with the provision of title 1 l and the F ederal Rules of Bankruptcy Procedure may result in fines or
imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.

0 continuation pages attached

Penalty for making a false statement Fine of up to $500, 000 or imprisonment for up to 5 years or both 18 US. C. § 152 and 35 71 .

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Bs (omeial Form s) (12/08)
United States Bankruptcy Court
District of Kansas

IN RE: Case No.

Brown, Zenobia Rene Chapter 7
Debtor(s)

CHAPTER 7 INDIVIDUAL DEBTOR’S STATEMENT OF INTENTION

PART A - Debts seemed by property of the estate. (Part A must be fully completed for EACH debt which is secured by property of the
estate. Attach additional pages if necessary )

 

 

 

 

 

 

 

Property No. l

Creditor’s Name: Describe Property Securing Debt:
Saxon Morlage 4 br 2 bath residence 2939 n. 76th st
Property will be (check one):

MSurrendered l:] Retained

If retaining the property, l intend to (check at least one):
|:I Redeem the property
I___] Reaff'lrm the debt
l:] Other. Explain (for example, avoid lien using ll U.S.C. § 522(1)).

Property is (check one):
MClaimed as exempt |:l Not claimed as exempt

 

 

Property No. 2 (if necessary)
Creditor’s Name: Describe Property Securing Debt:

 

 

 

Property will be (check one):
\:I Surrendered [:] Retained

lf retaining the property, I intend to (check at least one):
|:\ Redeem the property
|:] Reaff`lrm the debt
m Other. Explain (for example, avoid lien using l l U.S.C. § 522(1)).

Property is (check one):
I:l Claimed as exempt [] Not claimed as exempt

 

 

 

PART B - Personal property subject to unexpired leases. (A ll three columns of Part B must be completed for each unexpired lease. Attach
additional pages if necessary )

 

 

 

 

 

Property No. l

Lessor’s Name: Describe Leased Property: Lease will be assumed pursuant to
11 U.S.C. § 365(p)(2):
[:| Yes I:] No

Property No. 2 (ifnecessary)

Lessor’s Name: Describe Leased Property: Lease will be assumed pursuant to
11 U.S.C. § 365(p)(2):
[:l Yes I:] No

 

 

 

 

 

continuation sheets attached (zfany)

I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.

 
 
   

Date: October 14, 2011
ignature of Debtor

 

Signature of Joint Debtor

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IN RE Brown, Zenobia Rene Case No.
Debtor(s)

CHAPTER 7 INDIVIDUAL DEBTOR'S STATElV[ENT OF lNTENTION
Continuation Sheet - Page 1 of l

 

 

 

 

Statement of Intent

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United States Bankruptcy`Court
District of Kansas

IN RE: Case No.

Brown, Zenobia Rene Chapter 7
Debtor(s)

VERIFICATION OF CREDITOR MATRIX
The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge

\
Date: October 14, 2011 Signature>@_n®@£@£ 0/\)\(?,0_1®
Debtor

Date: Signature:

 

 

 

 

Joint Debtor, if any

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Asset Acceptance
PO Box 1630
Warren MI 48090

At&t
1813 Village West Parkway
Kansas City KS 66109

Cavalot Portfolio Service
PO Box 27288
Tempe AZ 85285

First National - Firestone
PO Box 81315
Cleveland OH 44181

Hsbc Bank
PO Box 5253
Carol Stream IL 60197

 
   
 
 
 
  
 
 
  
   
  
  
 

Kansas Gas Service
Po Box 219046
Kansas City MO 64121

Lane Bryant Retail
450 Winks Lane
Bensalem PA 19020

Midnight Velvet
1112 7th Ave
Monroe WI 53566

National Recovery Agency
2491 Paxton St
Harrisburg PA 17111

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ij Acq Llc
575 Underhill Blvd Suite 224
Syosset NY 11791

Saxon Mortage
4708 Mercantile Drive North
Fort Worth TX 76137

Sears - Citi Bank
PO BOX 6241
Sioux Fall SD 57117

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BzzA (omciai Form 22A) (chapier 7) (iz/io)

ln re: Brown, Zenobia Rene

Case Number:

 

According to the information required to be entered on this
statement (check one box as directed in Part I, III, or Vl of this
statement):

|:] The presumption arises

MThe presumption does not arise

 

name [:] The presumption is temporarily inapplicable.

 

 

 

 

(If known)

CHAPTER 7 STATEMENI` OF CURRENT MONTHLY INCOME
AND MEANS-TEST CALCULATION

In addition to Schedules l and J, this statement must be completed by every individual chapter 7 debtor. lf none of the exclusions in
Part I applies, joint debtors may complete one statement only. If any of the exclusions in Part I applies, joint debtors should complete
separate statements if they believe this is required by § 707(b)(2)(C).

 

ran 1. NnLiTARY ANDNoN-coNsoMER onerous

 

' iA'

Disabled Veterans. lf you are a disabled veteran described in the Veteran’s Declaration in this Part lA, (1) check the box at
the beginning of the Declaration, (2) check the box for “The presumption does not arise” at the top of this statement, and (3)
complete the verification in Part VIII. Do not complete any of the remaining parts of this statement.

7 |:] Declaration of Disabled Veteran. By checking this box, 1 declare under penalty of perjury that I am a disabled veteran

(as defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as
defined in 10 U.S.C. § 101(d)(l )) or while l was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).

 

in

, Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the verification

in Part VIII. Do not complete any of the remaining parts of this statement

|:| Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.

 

lC

 

 

Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component
of the Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. §

7 lOl(d)(l)) after September l 1, 2001, for a period of at least 90 days, or who have performed homeland defense activity (as

defined in 32 U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the time
of active duty or homeland defense activity and for 540 days thereafter (the “exclusion period”). lf you qualify for this
temporary exclusion, (1) check the appropriate boxes and complete any required information in the Declaration of
Reservists and National Guard Members below, (2) check the box for “The presumption is temporarily inapplicable” at the
top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you are not required to
complete the balance of this form, but you must complete the form no later than 14 days after the date on which your
exclusion period ends, unless the time for ming a motion raising the means test presumption expires in your case
before your exclusion period ends.

|:| Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries
below, l declare that l am eligible for a temporary exclusion from means testing because, as a member of a reserve
component of the Armed Forces or the National Guard

a. |:| l was called to active duty after September ll, 200l, for a period of at least 90 days and
[:] I remain on active duty /0r/
|:] I was released from active duty on , which is less than 540 days before this
bankruptcy case was filed;

OR

b. |___\ I am performing homeland defense activity for a period of at least 90 days /or/
[:] l performed homeland defense activity for a period of at least 90 days, terminating on
which is less than 540 days before this bankruptcy case was filed.

Y~_`_ ¢_`____.,

 

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B22A (Official Form 22A) (Chapter 7) (12/10)

 

ran n. CALCULATION or MoN'rHLY INCoME ron § 707(b)(7) ExcLUsIoN

 

Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.

a. MUnmarried. Complete only Column A (“Debtor’ s Income”) for Lines 3-11.

b. |:| Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
penalty of perjury: “My spouse and l are legally separated under applicable non-bankruptcy law or my spouse and I

are living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code.”
Complete only Column A (“Debtor’s Income”) for Lines 3-11.

c. [:| Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both
Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for Lines 3-11.

d. [:| Married, filing jointly. Complete both Column A (“Debtor’s Income”) and Column B (“Spouse’s lncome”) for
Lines 3-1 l.

 

All figures must reflect average monthly income received from all sources, derived during Column A Column B
the six calendar months prior to filing the bankruptcy case, ending on the last day of the Debtor,$ Spouse,s
month before the filing. If` the amount of monthly income varied during the six months, you Income Income
must divide the six-month total by six, and enter the result on the appropriate line.

 

3 Gross wages, salary, tips, bonuses, overtime, commissions. $ $

 

Income from the operation of a business, profession or farm. Subtract Line b from Line
a and enter the difference in the appropriate column(s) of Line 4. If you operate more than
one business, profession or farm, enter aggregate numbers and provide details on an

7 ' attachment Do not enter a number less than zero. Do not include any part of the business
4 expenses entered on Line b as a deduction in Part V.

 

Gross receipts $

 

b. Ordinary and necessary business expenses $

 

c. Business income Subtract Line b from Line a

 

 

 

 

 

 

7 Rent and other real property income. Subtract Line b from Line a and enter the
difference in the appropriate column(s) of Line 5. Do not enter a number less than zero. Do
7 not include any part of the operating expenses entered on Line b as a deduction in
Part V.

 

Gross receipts $

 

Ordinary and necessary operating expenses $

 

 

 

 

 

c. Rent and other real property income Subtract Line b from Line a $

 

 

67 Interest, dividends, and royalties.

 

Pension and retirement income.

 

7 Any amounts paid by another person or entity, on a regular basis, for the household
expenses of the debtor or the debtor’s dependents, including child support paid for

87 that purpose. Do not include alimony or separate maintenance payments or amounts paid
by your spouse if Column B is completed. Each regular payment should be reported in only
, one column; if a payment is listed in Column A, do not report that payment in Column B. $ $

 

Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
However, if you contend that unemployment compensation received by you or your spouse
was a benefit under the Social Security Act, do not list the amount of such compensation in
9 Column A or B, but instead state the amount in the space below:

 

Unemployment compensation
claimed to be a benefit under the

Social Security Act Debtor $ W SPO“Se $ ~mm $ 856.02 $

 

 

 

 

 

 

 

 

 

 

 

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BZZA Official Form 22A) (Chapter 7) (12/10)

Income from all other sources. Specify source and amount. Ifnecessary, list additional
sources on a separate page. Do not include alimony or separate maintenance payments
paid by your spouse if Column B is completed, but include all other payments of
alimony or separate maintenance Do not include any benefits received under the Social
Security Act or payments received as a victim of a war crime, crime against humanity, or as
j 7 10 a victim of international or domestic terrorism.

 

 

 

 

 

 

 

 

 

 

a.
b.
Total and enter on Line 10 $ $
11 Subtotal of Current Monthly Income for § 707(b)(7): Add Lines 3 thru 10 in Column A,
` and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s). $ 856.02 $

 

 

7 Total Current Monthly Income for § 707(b)(7). lf Coltimn B has been completed, add
12 ' Line ll, Column A to Line ll, Column B, and enter the total. If Column B has not been
completed, enter the amount from Line 11, Column A. $ 856.02

 

 

' ' ran 111, APPLICATioN or §§ 707(1;)¢7) itxcLUsioN7

 

Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number

13 ' 12 and enter the result. $ 10,272.24

 

Applicable median family income. Enter the median farnin income for the applicable state and
' household size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of
14 the bankruptcy court.)

a. Enter debtor’s state of residence: Kansas b. Enter debtor’s household size: 1 $ 41 ,654.00

Application of Section707(b)(7). Check the applicable box and proceed as directed.
M The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for “The presumption does

 

 

 

 

 

 

15 not arise” at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI, or VII.
|:] The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement
Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)
' ' Part IV. CALCULATION OF CURRENT MONTHLY INC()ME FOR § 707(b)(2)

 

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167 Enter the amount from Line 12. $

 

Marital adjustment If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in
Line 11, Column B that was NO'I` paid on a regular basis for the household expenses of the debtor or the
debtor’s dependents Specify in the lines below the basis for excluding the Column B income (such as
payment of the spouse’s tax liability or the spouse’s support of persons other than the debtor or the

7 debtor’s dependents) and the amount of income devoted to each purpose. If necessary, list additional

,17' adjustments on a separate page. lf you did not check box at Line 2.c, enter zero.

 

a.
b.

 

 

c.

 

 

 

 

 

Total and enter on Line 17 .

 

 

 

j 18 ' Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result

Part V. CALCULATION OF DEDUCTIONS FROM INCOME

 

 

Subpart A: Deductions under Standards of the internal Revenue Service (1116)

 

National Standards: food, clothing and other items. Enter 111 Line l9A the “Total” amount fi'om IRS

~ National Standards for Food, Clothing and Other ltems for the applicable number of persons. (This

19A information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable
number of persons is the number that would currently be allowed as exemptions on your federal income tax
7 return, plus the number of any additional dependents whom you support. $

 

 

 

 

 

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BZZAV Oflicial Form 22A) (Chapter 7) (12/10)

National Standards; health care. Enter in Line al below the amount from IRS National Standards for
Out-of~Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
www.usdo}`.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of

7 persons who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65
years of age or older. (l`he applicable number of persons in each age category is the number in that
category that would currently be allowed as exemptions on your federal income tax retum, plus the number
of any additional dependents whom you support.) Multiply Line al by Line b1 to obtain a total amount for
1913 , persons under 65, and enter the result in Line cl . Multiply Line a2 by Line b2 to obtain a total amount for
persons 65 and older, and enter the result in Line c2. Add Lines cl and c2 to obtain a total health care
amount, and enter the result in Line 19B.

 

 

Persons under 65 years of age Persons 65 years of age or older

 

al. Allowance per person a2. Allowance per person

 

b1. Number of persons b2. Number of persons

 

 

 

 

 

 

 

 

 

c1. Subtotal c2. Subtotal

 

 

Local Standards; housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing

, and Utilities Standards; non-mortgage expenses for the applicable county and farnin size. (This

20A information is available at www.usdo]'.gov/ust/ or from the clerk of the bankruptcy court). The applicable
' 7 family size consists of the number that would currently be allowed as exemptions on your federal income

tax retum, plus the number of any additional dependents whom you support. $

 

Local Standards; housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of
5 the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this

7 information is available at www.usdoi.gov/ust/ or from the clerk of the bankruptcy court)(the applicable
family size consists of the number that would currently be allowed as exemptions on your federal income
tax retum, plus the number of any additional dependents whom you support); enter on Line b the total of
the Average Monthly Payments for any debts secured by your home, as stated in Line 42; subtract Line b
` 203 from Line a and enter the result in Line 20B. Do not enter an amount less than zero.

 

IRS Housing and Utilities Standards; mortgage/rental expense $

 

Average Monthly Payment for any debts secured by your home, if
any, as stated in Line 42 $

 

c. Net mortgage/rental expense Subtract Line b from Line a

 

 

 

 

 

 

 

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Local Standards: housing and utilities; adjustment If you contend that the process set out in Lines 20A
, and 20B does not accurately compute the allowance to which you are entitled under the IRS Housing and
7 Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis
for your contention in the space below:

21

 

Local Standards; transportation; vehicle operation/public transportation expense. You are entitled to
an expense allowance in this category regardless of whether you pay the expenses of operating a vehicle
and regardless of whether you use public transportation

Check the number of vehicles for which you pay the operating expenses or for which the operating
expenses are included as a contribution to your household expenses in Line 8.

22A |:|0 [:|l |:]2ormore.

If you checked 0, enter on Line 22A the “Public Transportation” amount from IRS Local Standards;
'l`ransportation. If you checked l or 2 or more, enter on Line 22A the “Operating Costs” amount from lRS
Local Standards; Transportation for the applicable number of vehicles in the applicable Metropolitan
Statistical Area or Census Region. (These amounts are available at www.usdo]`.gov/u§t_/ or from the clerk
of the bankruptcy court.) $

 

 

 

 

 

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BZZA Ofiicial Form ZZA) (Chapter 7) (12/10)

 

228

Local Standards: transportation; additional public transportation expense. If you pay the operating
expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
additional deduction for your public transportation expenses, enter on Line 22B the “Public
Transportation” amount from lRS Local Standards: Transportation. (This amount is available at
www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)

 

23

Local Standards: transportation ownership/lease expense; Vehicle l. Check the number of vehicles for

i which you claim an ownership/lease expense. 01 ou may not claim an ownership/lease expense for more
7 than two vehicles.)

|:| 1 [:| 2 or more.

Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards:
Transportation (available at www.usdoi.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b
the total of the Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42;
subtract Line b from Line a and enter the result in Line 23. Do not enter an amount less than zero.

 

a. IRS Transportation Standards, Ownership Costs $

 

Average Monthly Payment for any debts secured by Vehicle 1, as
b. stated in Line 42 $

 

 

 

 

c. Net ownership/lease expense for Vehicle l Subtract Line b from Line a

 

 

 

2'4:

Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you

' checked the “2 or more” Box in Line 23.

Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards:
Transportation (available at www.usdoj.gov/ust/ or ii'om the clerk of the bankruptcy court); enter in Line b
the total of the Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42;
subtract Line b from Line a and enter the result in Line 24. Do not enter an amount less than zero.

 

a. IRS Transportation Standards, Ownership Costs, Second Car $

 

Average Monthly Payment for any debts secured by Vehicle 2, as
b. stated in Line 42 $

c. Net ownership/lease expense for Vehicle 2 Subtract Line b from Line a

 

 

 

 

 

 

25

' Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all

federal, state, and local taxes, other than real estate and sales taxes, such as income taxes, self employment

, taxes, social security taxes, and Medicare taxes. Do not include real estate or sales taxes.

 

,26

Other Necessary Expenses: involuntary deductions for employment Enter the total average monthly
payroll deductions that are required for your employment, such as retirement contributions, union dues,
and uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.

 

27

Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay
for term life insurance for yourself. Do not include premiums for insurance on your dependents, for
whole life or for any other form of insurance.

 

28'

Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
payments. Do not include payments on past due obligations included in Line 44.

 

7 " Other Necessary Expenses: education for employment or for a physically or mentally challenged
29 7

child. Enter the total average monthly amount that you actually expend for education that is a condition of
employment and for education that is required for a physically or mentally challenged dependent child for
whom no public education providing similar services is available

 

30

Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend
on childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational

payments.

 

31

 

 

Other Necessary Expenses: health care. Enter the total average monthly amount that you actually
expend on health care that is required for the health and welfare of yourself or your dependents, that is not

7 reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered in

Line 19B. Do not include payments for health insurance or health savings accounts listed in Line 34.

 

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B22A orn¢iai Form 22A) (Cigpter 7) (12/10)

Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that
you actually pay for telecommunication services other than your basic home telephone and cell phone

32 service _ such as pagers, call waiting, caller id, special long distance, or intemet service - to the extent
necessary for your health and welfare or that of your dependents. Do not include any amount previously
deducted.

33 Total Expenses Allowed under lRS Standards. Enter the total of Lines 19 through 32.

 

 

 

 

 

, ' , Subpart B: Additiona1 Living Expense Deductions
Note: Do not include any expenses that you have listed in Lines 19-32

 

Health Insurance, Disability lnsurance, and Health Savings Account Expenses. List the monthly
expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your
spouse, or your dependents

 

a. Health lnsurance

 

b. Disability lnsurance

 

34' 7

 

 

 

 

c. Health Savings Account

 

Total and enter on Line 34

 

 

If you do not actually expend this total amount, state your actual total average monthly expenditures in
the space below:

 

$

Continued contributions to the care of household or family members. Enter the total average actual
monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
elderly, chronically ill, or disabled member of your household or member of your immediate family who is
unable to pay for such expenses. $

 

 

355

 

Protection against family violence. Enter the total average reasonably necessary monthly expenses that
you actually incurred to maintain the safety of your farnin under the Family Violence Prevention and
Services Act or other applicable federal law. The nature of these expenses is required to be kept
confidential by the court. $

36

 

Home energy costs. Enter the total average monthly arnount, in excess of the allowance specified by lRS
Local Standards for Housing and Utilities, that you actually expend for home energy costs. You must
provide your case trustee with documentation of your actual expenses, and you must demonstrate
that the additional amount claimed is reasonable and necessary, $

37

 

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Education expenses for dependent children less than 18. Enter the total average monthly expenses that
you actually incur, not to exceed $147.92* per child, for attendance at a private or public elementary or
38 secondary school by your dependent children less than 18 years of age, You must provide your case
trustee with documentation of your actual expenses, and you must explain why the amount claimed
is reasonable and necessary and not already accounted for in the IRS Standards. $

 

Additional food and clothing expense. Enter the total average monthly amount by which your food and

clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
39 " National Standards, not to exceed 5% of those combined allowances. (This information is available at

` www.usdo`l.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the

additional amount claimed is reasonable and necessary. $

 

 

Continued charitable contributions, Enter the amount that you will continue to contribute in the form of

40 cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2). $

 

41 Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40

 

 

 

 

$

 

* Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or afer the date of aab`ustment.

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B22A @fficial Form 22A) (Chalter 7) (12/10)
7 ' Subpart C: Deductions for Debt Payment

 

Future payments on secured claims. For each of your debts that is secured by an interest in property that
you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is
the total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months

' following the filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate
7 7 page. Enter the total of the Average Monthly Payments on Line 42.

 

Average Does payment
42 Monthly include taxes or
' Name of Creditor Property Securing the Debt Payment insurance?

$ [___\yes |:]no
$ l:lyes ['_']no

C- $ |:I yes [___] no
Total: Add lines a, b and c.

 

 

 

 

 

 

 

 

 

 

 

 

Other payments on secured claims. lf any of debts listed in Line 42 are secured by your primary
residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
you may include in your deduction l/60th of any amount (the “cure amount”) that you must pay the
creditor in addition to the payments listed in Line 42, in order to maintain possession of the property. The
cure amount would include any sums in default that must be paid in order to avoid repossession or
foreclosure List and total any such amounts in the following chart If necessary, list additional entries on a
separate page.

743 1/60th of the
Name of Creditor Property Securing the Debt Cure Amount

$
b. $
c. $
Total: Add lines a, b and c.

 

 

 

 

 

 

 

 

 

 

 

 

Payments on prepetition priority claims. Enter the total arnount, divided by 60, of all priority claims,
44, such as priority tax, child support and alimony clairns, for which you were liable at the time of your
' bankruptcy iiling. Do not include current obligations, such as those set out in Line 28. $

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7 Chapter 13 administrative expenses. If you are eligible to file a case under chapter 13, complete the
following chart, multiply the amount in line a by the amount in line b, and enter the resulting
administrative expense.

 

Projected average monthly chapter 13 plan payment. $

 

b. Current multiplier for your district as determined under

45 schedules issued by the Executive Office for United States
Trustees. (This information is available at
www.usdoj.gov/ust/ or from the clerk of the bankruptcy
court.) X

 

c. Average monthly administrative expense of chapter 13 Total: Multiply Lines a
case and b

 

 

 

 

 

 

 

 

46 : Total Deductions for Debt Paymeut. Enter the total of Lines 42 through 45.

Subpart D: Totall)eductions from Income » ,7

 

 

 

 

477 l Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46. $

 

 

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BzzA (orriciai Form 22A) (chgpter 7) (12/10)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

7 Part VI. DETERMINATION OF § 707(b)(2) PRESUDIPTION
' 48 Enter the amount from Line 18 (Current monthly income for § 707(b)(2))
49 Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))
50 Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result. $
51 7 611-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and
enter the result. $
Initial presumption determination. Check the applicable box and proceed as directed.
|:| The amount on Line 51 is less than $7,025*. Check the box for “The presumption does not arise” at the top of page 1
of this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
7 52 |:] The amount set forth on Line 51 is more than $11,725*. Check the box for “The presumption arises” at the top of
7 page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VlI. Do not complete
the remainder of Part VI.
|:| The amount on Line 51 is at least $7,025*, but riot more than $11,725*. Complete the remainder of Part VI (Lines
7 53 though 55).
753 ` Enter the amount of your total non-priority unsecured debt $
54 Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the
7 result. $
Secondary presumption determination. Check the applicable box and proceed as directed.
[| The amount on Line 51 is less than the amount on Line 54. Check the box for “The presumption does not arise” at
55 the top of page 1 of this statement, and complete the verification in Part VIII.
|_'_'] The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for “The presumption
arises” at the top of page l of this statement, and complete the verification in Part VIII. You may also complete Part
VII.
7 ran vii; Ai)nrrioNAL EXPENSECLAIMS
Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
and welfare of you and your farnin and that you contend should be an additional deduction from your current monthly
income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your
average monthly expense for each item. Total the expenses.
Expense Description Monthly Amount
56
$
. $
c. $
Total: Add Lines a, b and c $
Part VIII. VERIFICATION
I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
both debtors must sign.)
57 Date: Octgber 14 _2_01 1 6 Signature¥§LDQ_@-Q-»QWW j
(Debtof)
Date: _g 7 __ Signature: wm
(Joint Debtor, if any)

 

* Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment

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